                IN THE UNITED STATES DISTRICT COURT

           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA                  :
                                          :
                 v.                       :         1:20CR319-1
                                          :
CHAIM PINTO                               :


                                  FACTUAL BASIS

      NOW COME the United States of America, by and through Matthew

G.T. Martin, United States Attorney for the Middle District of North Carolina,

and as a factual basis under Rule 11(b)(3), Fed. R. Crim. P., states as follows:

      Chaim Pinto (“Pinto”) was born on July 24, 19XX in Tel Aviv, Israel and

is a citizen of Israel. On or about October 9, 1985, Suzy Shoes Corporation,

Brooklyn, NY, sponsored Pinto for alien employment. On or about February

14, 1986, a Petition to Classify Preference Status of Alien on Basis of Profession

or Occupation (known as Form I-140) was submitted to the U.S. Immigration

and Naturalization Service (“INS”) on behalf of Pinto. On March 11, 1986, INS

approved the Form I-140 petition, thereby granting a specialized skill

immigrant visa (P6-1) to Pinto. On October 16, 1986, Pinto entered the United

States at New York, New York. His alien file reference number is XXX 177 182.

      Pinto has never applied for nor petitioned for United States citizenship.




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Pinto knew he was not a United States citizen at all relevant times. Pinto, in

fact, is not and never has been a United States citizen.

      On November 2, 2016, in Hoke County, North Carolina, Pinto registered

to vote.

      On November 2, 2016, in Hoke County, North Carolina, Pinto voted in

the November 2016 election at a so-called “Early Voting” site. The November

2016 election was held for the purpose of electing a candidate for the office of

President, Vice President, Member of the United States Senate, and Member

of the United States House of Representatives, among other positions on the

ballot.

      This the 17th day of November, 2020.



                                      Respectfully submitted,



                                      /s/ MATTHEW G.T. MARTIN
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                          CERTIFICATE OF SERVICE



      I hereby certify that on November 17, the foregoing was electronically

filed with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to the following:

      J. Clark Fischer, Attorney for Defendant



                                      /s/ MATTHEW G.T. MARTIN
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